                               United States Bankruptcy Court
                                       Eastern District of Texas
                                             Sherman Division

 In re:                                                              Case No. 22-41686-btr
 Empire Countertops, LLC
     1137 Enterprise Dr.                                                    Chapter 11
     Pilot Point, TX 76258
     EIN: XX-XXXXXXX                                          Expedited Hearing Scheduled:
                                                         Thursday, December 15, 2022 at 11:00am.
 Debtor

           Motion to Use Cash Collateral                               A contested matter


                       EXHIBIT LIST OF EMPIRE COUNTERTOPS, LLC

 Exhibit                     Description of Exhibit                       Offered   Objection Admitted

 1.          Revised 30-Day Budget (December 2022)

 2.          Emergency Expenses

 3.          List of Debtor’s Balance Sheet

 4.          Projection of Revenue Over 6 Months

 5.          UCC Lien Claimants

 6.          Wells Fargo DIP Account Information

 7.          Postpetition Payroll Expenses

 8.          Any item filed of record in this proceeding

 9.          Any exhibit introduced by any other party


                                             WITNESS LIST

      1. Curtis “Mitch” Mahoney, Debtor’s Representative

      2. Scott Laine, Debtor’s Controller

      3. Any witness called or listed on opposing counsel’s list.

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        The Debtor reserves the right to use any exhibit introduced into evidence by any other

party, to introduce and use any document that has been filed in this bankruptcy proceeding, to

use any witness or exhibit not listed herein for purposes of rebuttal or impeachment, and to

supplement or amend this witness and exhibit list at any time prior to the hearing.

        DATED: December 14, 2022.                            Respectfully submitted:

                                                           NORRED LAW, PLLC
                                                           By: __/s/ Clayton L. Everett____
                                                                  Clayton L. Everett
                                                           Texas State Bar No. 24065212
                                                           clayton@norredlaw.com
                                                           515 E. Border Street
                                                           Arlington, Texas 76010
                                                           Telephone: (817) 704-3984
                                                           Proposed Counsel for Debtor



                                    CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the Debtor’s Witness Exhibit List was served on
the Office of the U.S. Trustee and upon the parties receiving notice via the Court’s CM/ECF
system. A copy will also be served by US Mail on the Debtor’s matrix as well as the parties below:

 Newtek Finance                                        BTH Bank / Origins
 c/o Patrick Appleton                                  c/o Michael Slesinger
 4800 T-Rex Ave., Ste. 110                             5001 El Campo Avenue
 Boca Raton, FL 33431                                  Fort Worth, TX 76107

 Eagle Eye Advance LLC                                 340 Broadway Holdings LLC
 254 36th Street, Ste. C303                            1560 Sawgrass Corp. Pkwy. Ste.474
 Brooklyn, NY 11232                                    Fort Lauderdale, FL 33323

 Jeremy S. Williams                                    W.J. Wade, Jr.
 901 East Byrd Street, Suite 1000                      2112 Indiana Avenue
 Richmond, Virginia 23219                              Lubbock, TX 79410
 Via: jeremy.williams@kutakrock.com                    Counsel for 340 Broadway Holdings LLC
 Counsel for Eagle Eye Advance LLC




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 The LCF Group, Inc.                                   Merchant Advance LLC
 3000 Marcus Ave. Suite 2W15                           1621 Central Avenue
 New Hyde Park, NY 11042                               Cheyenne, WY 82001


 David Fogel, P.C                                      Gulf Coast Bank and Trust Company
 1225 Franklin Avenue 522                              1170 Celebration Blvd, Ste. 100
 Garden City, NY 11530                                 Kissimmee, FL 34747-4604
 Counsel for Merchant Advance LLC

           By: __/s/ Clayton L. Everett____




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